Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 1 of 36 Page ID #:154




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    7
    8
    9                           UNITED STATES DISTRICT COURT
   10          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   11
   12 ROSE MCGOWAN,                               Case No. 2:19-cv-9105
   13              Plaintiff,                     The Hon. Otis D. Wright, II
   14        vs.                                  DEFENDANTS LISA BLOOM AND
                                                  THE BLOOM FIRM[S NOTICE OF
   15 HARVEY WEINSTEIN, DAVID                     MOTION AND MOTION TO
      BOIES, BOIES SCHILLER FLEXNER               DISMISS COMPLAINT
   16 LLP, LISA BLOOM, THE BLOOM                  [Fed. R. Civ. P. 12(b)(6)];
      FIRM, B.C. STRATEGIES LTD.                  MEMORANDUM OF POINTS AND
   17 D/B/A BLACK CUBE,                           AUTHORITIES
   18              Defendants.                    [Request for Judicial Notice and
                                                  [Proposed] Order Submitted
   19                                             Concurrently Herewith]
   20                                             Date: May 11, 2020
                                                  Time: 1:30 p.m.
   21                                             Courtroom: 5D
   22                                             Complaint Filed: Oct. 23, 2019
                                                  Trial Date: None Set
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                                                                        Case No. 2:19-cv-9105
                   BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 2 of 36 Page ID #:155




    1                 NOTICE OF MOTION TO DISMISS COMPLAINT
    2         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
    3 RECORD:
    4         PLEASE TAKE NOTICE that on May 11, 2020, at 1:30 p.m., or as soon
    5 thereafter as may be heard in Courtroom 5D of the above-entitled Court, located at
    6 350 West 1st Street, Los Angeles, CA 90012, Defendants Lisa Bloom and The
    7 Bloom Firm (the qBloom Defendantsr) will and hereby do move for an Order
    8 dismissing Plaintiffts Complaint in its entirety pursuant to Federal Rule of Civil
    9 Procedure 12(b)(6) on the grounds that each purported claim for relief stated therein
   10 fails to state a claim upon which relief can be granted.
   11         This Motion is based on the following grounds, which are discussed more
   12 fully in the concurrently-filed Memorandum of Points and Authorities:
   13         1. Plaintiff has not stated claims under the federal RICO laws because
   14 Plaintiff has not alleged two predicate acts as to the Bloom Defendants; Plaintiff
   15 cannot show a pattern of racketeering activity; Plaintiff fails to sufficiently allege
   16 the existence of an enterprise or the Bloom Defendantst role within the alleged
   17 enterprise; and Plaintiff has not alleged fraud with the required specificity under
   18 Rule 9.
   19         2. Plaintiff lacks standing to sue under the federal RICO laws.
   20         3. Plaintiff has failed to state a claim under the Federal Wiretap Act.
   21         4. Plaintiff has failed to state a claim under any of her state-law theories
   22 against the Bloom Defendants, whether pleaded under theories of vicarious or
   23 primary liability.
   24         The Motion is made following a conference between counsel for Plaintiff and
   25 counsel for the Bloom Defendants pursuant to Local Rule 7-3 begun on December
   26 3, 2019 and continued thereafter.
   27         The Motion is based on this Notice of Motion and Motion, the pleadings on
   28 file in this matter, the Memorandum of Points and Authorities filed concurrently

                                                -1-                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 3 of 36 Page ID #:156




    1 herewith, the Request for Judicial Notice filed concurrently herewith, and any
    2 further argument the Court might allow.
    3
    4 DATED: January 31, 2020              BROWNE GEORGE ROSS LLP
    5                                         Eric M. George
                                              Noah S. Helpern
    6
    7
    8                                      By:        /s/ Eric M. George
    9                                                 Eric M. George
                                           Attorneys for Defendants
   10                                      Lisa Bloom and The Bloom Firm
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                                               -2-                       Case No. 2:19-cv-9105
                    BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 4 of 36 Page ID #:157




    1                                             TABLE OF CONTENTS
    2                                                                                                                          Page
    3
        MEMORANDUM OF POINTS AND AUTHORITIES ............................................. 1
    4
        PRELIMINARY STATEMENT ................................................................................. 1
    5
        RELEVANT FACTS AS ALLEGED IN COMPLAINT ........................................... 2
    6
                 A.       Prefatory Statement ................................................................................. 2
    7
                 B.       Plaintiff Publishes A Book Discussing Her Alleged Rape By
    8                     Weinstein................................................................................................. 3

    9            C.       Weinstein Attempts To Avoid Publication Of Brave And
                          Minimize Negative Publicity And Legal Exposure ................................ 3
   10
                 D.       Weinstein Engages Lisa Bloom And Her Law Firm .............................. 4
   11
                 E.       :^SU] ;gTW 9^^WYWV^k =`YSYWe A` Nad] G` NW[`efW[`te :WZS^X .......... 5
   12
                 F.       Plaintiff Releases Her Book But Cancels Her Book Tour ...................... 6
   13
        ARGUMENT ............................................................................................................... 6
   14
                 A.       Legal Standard ........................................................................................ 6
   15
                 B.       Plaintiff Fails To Plead A Cognizable Civil RICO Claim ...................... 7
   16
                          1.       Plaintiff Has Not Pleaded A Pattern Of Racketeering
   17                              Activity ......................................................................................... 8

   18                     2.       Plaintiff Lacks Standing To Assert Purported RICO
                                   Claims Based On The Alleged Injury........................................... 9
   19
                          3.       Plaintiff Has Not Pleaded Wire Fraud With Particularity .......... 12
   20
                          4.       The Complaint Lacks Sufficient Allegations Regarding
   21                              KZW =j[efW`UW GX 9` =`fWdbd[eW S`V :^aa_te Supposed
                                   Involvement ................................................................................ 13
   22
                          5.       H^S[`f[XXte IA;G ;a`eb[dSUk ;^S[_ %;ag`f AA& >S[^e .................. 15
   23
                 C.       Plaintiff Has Failed To Sufficiently Plead A Claim Under The
   24                     Federal Wiretap Act .............................................................................. 16

   25            D.       None Of The State Law Claims Has Merit ........................................... 17

   26                     1.       The State Law Claims Based On A Vicarious Liability
                                   Theory Must Be Dismissed ........................................................ 18
   27
                          2.       Plaintiff Has Failed To State A Claim Against Bloom For
   28                              Fraud (Counts IV and V) ............................................................ 19

                                                      -i-                       Case No. 2:19-cv-9105
                           BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 5 of 36 Page ID #:158




    1                                           TABLE OF CONTENTS
                                                    (Continued)
    2
                                                                                                                        Page
    3
                          3.       Plaintiff Has Failed To State A Claim For Violations Of
    4                              The Bane Act (Count VI) ........................................................... 20
    5                     4.       Plaintiff Has Failed To Allege A Claim Against Bloom
                                   For Invasion Of Privacy (Count VII) ......................................... 21
    6
                          5.       Plaintiff Has Failed To State A Claim Against Bloom For
    7                              Computer Crimes (Count VIII) .................................................. 21
    8                     6.       Plaintiff Has Failed To State A Claim Against Bloom For
                                   Conversion (Count IX) ............................................................... 22
    9
                          7.       Plaintiff Has Failed To State A Claim Against Bloom For
   10                              Intentional Infliction Of Emotional Distress (Count X) ............. 23
   11                     8.       Plaintiff Has Failed To State A Claim Against Bloom For
                                   Negligent Hiring And Supervision (Count XI) .......................... 24
   12
        CONCLUSION .......................................................................................................... 25
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                     -ii                       Case No. 2:19-cv-9105
                          BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 6 of 36 Page ID #:159




    1                                           TABLE OF AUTHORITIES
    2                                                                                                                        Page
    3
         Cases
    4
    5
      Ashcroft v. Iqbal,
    6    556 U.S. 662 (2009) ......................................................................................... 6, 7
    7 Baumer v. Pachl,
    8   8 F.3d 1341 (9th Cir. 1993) ................................................................................ 15
    9 Cabesuela v. Browning-Ferris Indus. of Cal., Inc.,
        68 Cal. App. 4th 101 (1998) ............................................................................... 21
   10
   11 Camarillo v. City of Maywood,
        No. CV 07-3469 ODW, 2008 WL 4056994 (C.D. Cal. Aug. 27,
   12   2008) (Wright, J.) ......................................................................................... 11, 12
   13
      Carnegie-Mellon Univ. v. Cohill,
   14   484 U.S. 343 (1988) ........................................................................................... 18
   15 Chaudhry v. City of Los Angeles,
   16   751 F.3d 1096 (9th Cir. 2014) ............................................................................ 20
   17 Craigslist, Inc. v. Mesiab,
   18    No. C 08-05064 CW (MEJ), 2009 WL 10710286 (N.D. Cal. Sept.
         14, 2009) ............................................................................................................. 22
   19
      Crest Constr. II, Inc. v. Doe,
   20    660 F.3d 346 (8th Cir. 2011) .............................................................................. 14
   21
      Diaz v. Gates,
   22    420 F.3d 897 (9th Cir. 2005) .............................................................................. 12
   23 Doe v. Federal Democratic Republic of Ethiopia,
   24   189 F.Supp.3d 6 (D.D.C. 2016), CHH]F, 851 F.3d 7 (D.C. Cir. 2017) ................. 17
   25 Dorris v. Absher,
   26   179 F.3d 420 (6th Cir. 1999) .............................................................................. 16

   27 Eaves v. Designs for Fin., Inc.,
        785 F. Supp. 2d 229 (S.D.N.Y. 2011) ................................................................ 15
   28

                                                      -iii-                      Case No. 2:19-cv-9105
                            BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 7 of 36 Page ID #:160




    1                                            TABLE OF AUTHORITIES
                                                       (Continued)
    2
                                                                                                                                Page
    3
         Eclectic Prop. E., LLC v. Marcus & Millichap Co.,
    4       751 F.3d 990 (9th Cir. 2014) .............................................................................. 14
    5
      Edwards v. Marin Park, Inc.,
    6   356 F.3d 1058 (9th Cir. 2004) .............................................................................. 7
    7 Encarnacao v. Phase Forward Inc.,
    8    No. CV 11-05090 ODW (PLA), 2012 WL 404971 (C.D. Cal. Feb.
         7, 2012) ............................................................................................................... 11
    9
      Giron v. Hong Kong & Shanghai Bank Co.,
   10
         No. 2:15-cv-08869-ODW-JC, 2016 WL 6662726 (C.D. Cal. June
   11    29, 2016) ............................................................................................................. 13
   12 Grimmett v. Brown,
   13    75 F.3d 506 (9th Cir. 1996) .................................................................................. 8
   14 Gross v. Waywell,
   15   628 F. Supp. 2d 475 (S.D.N.Y 2009) ................................................................... 9

   16 GSI Tech. v. United Memories, Inc.,
         No. 5:13-cv-01081-PSG, 2014 WL 1572358 (N.D. Cal. Apr. 18,
   17    2014) ..................................................................................................................... 9
   18
      H.J. Inc. v. Nw. Bell Tel. Co.,
   19    492 U.S. 229 (1989) ............................................................................................. 8
   20 Hayden v. Paul, Weiss, Rifkind, Wharton & Garrison,
   21   955 F. Supp. 248 (S.D.N.Y. 1997) ..................................................................... 15
   22 Hemi Grp., LLC v. City of New York,
   23   559 U.S. 1 (2010) ............................................................................................... 10

   24 1KMM W' 7CU]M ,PMMGIKCUG *UJMGUKE *TT]O,
         7 Cal. 4th 1 (1994) .............................................................................................. 21
   25
   26 Hill v. Opus Corp.,
         841 F. Supp. 2d 1070 (C.D. Cal. 2011) .............................................................. 13
   27
      Howard v. Am. Online Inc.,
   28    208 F.3d 741 (9th Cir. 2000) ...................................................................... 8, 9, 16
                                                        -iv                       Case No. 2:19-cv-9105
                             BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 8 of 36 Page ID #:161




    1                                          TABLE OF AUTHORITIES
                                                     (Continued)
    2
                                                                                                                           Page
    3
         Jarvis v. Regan,
    4       833 F.2d 149 (9th Cir. 1987) ................................................................................ 8
    5
      Kaldis v. Wells Fargo Bank, N.A.,
    6   263 F. Supp. 3d 856 (C.D. Cal. 2017) ................................................................ 25
    7 Lazar v. Super. Ct.,
    8    12 Cal. 4th 631 (1996) ........................................................................................ 19
    9 Maheu v. CBS, Inc.,
         201 Cal. App. 3d 662 (1988) .............................................................................. 22
   10
   11 6CUUGM% 2OE' W' 60* .OUN]U% 2OE.,
         782 F. Supp. 2d 911 (C.D. Cal. 2011) ................................................................ 15
   12
      Medallion Television Enters., Inc. v. SelecTV of Cal., Inc.,
   13
         833 F.2d 1360 (9th Cir. 1987) .............................................................................. 9
   14
      Milligan v. County of Orange,
   15    No. SACV 10-1874 JVS (RNBx), 2011 WL 13225139 (C.D. Cal.
   16    Mar. 14, 2011) .................................................................................................... 21
   17 Nally v. Grace Cmty. Church,
   18   47 Cal. 3d 278 (1988) ......................................................................................... 23

   19 Nunag-Tanedo v. E. Baton Rouge Par. Sch. Bd.,
         790 F. Supp. 2d 1134 (C.D. Cal. 2011) .............................................................. 12
   20
   21 Perez v. DirecTV Grp. Holdings, LLC,
         No. 16-cv-1440, 2019 WL 6362471 (C.D. Cal. July 23, 2019) ........................... 8
   22
      Phillips v. TLC Plumbing, Inc.,
   23    172 Cal. App. 4th 1133 (2009) ........................................................................... 24
   24
      Prime Partners IPA of Temecula, Inc. v. Chaudhuri,
   25    No. 5:11-cv-01860-ODW, 2012 WL 1669726 (C.D. Cal. May 14,
   26    2012) ....................................................................................................... 10, 11, 14

   27 Religious Tech. Ctr. v. Wollersheim,
         971 F.2d 364 (9th Cir. 1992) ................................................................................ 9
   28

                                                       -v                        Case No. 2:19-cv-9105
                            BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 9 of 36 Page ID #:162




    1                                            TABLE OF AUTHORITIES
                                                       (Continued)
    2
                                                                                                                                Page
    3
         Reves v. Ernst & Young,
    4       507 U.S. 170 (1993) ........................................................................................... 15
    5
      Reynolds v. Spears,
    6    93 F.3d 428 (8th Cir. 1996) ................................................................................ 16
    7 :KEG W' =';' +COL 7CU]M *TT]O,
    8    No. CV 11-6214-GW, 2012 WL 10423291 (C.D. Cal. Jan. 23,
         2012) ..................................................................................................................... 7
    9
      Richards v. Cty. of Los Angeles,
   10
         No. CV 17-400 BRO, 2017 WL 7411159 (C.D. Cal. Mar. 31, 2017) ................. 8
   11
      Rood v. County of Santa Clara,
   12    113 Cal. App. 4th 549 (2003) ....................................................................... 18, 19
   13
      Sanford v. MemberWorks, Inc.,
   14    625 F.3d 550 (9th Cir. 2010) .............................................................................. 12
   15 Schreiber Distrib. Co. v. Serv-Well Furniture Co., Inc.,
   16    806 F.2d 1393 (9th Cir. 1986) ........................................................................ 7, 13
   17 Sedima, S.P.R.L. v. Imrex Co.,
   18    473 U.S. 479 (1985) ........................................................................................... 10

   19 Stewart v. Wachowski,
         No. CV 03-2873-MMM-(VBKx), 2005 WL 6184235 (C.D. Cal.
   20    June 14, 2005)..................................................................................................... 16
   21
      Sullivan v. Oracle Corp.,
   22    51 Cal. 4th 1191 (2011) ...................................................................................... 22
   23 Sunbelt Rentals, Inc. v. Victor,
   24    43 F. Supp. 3d 1026 (N.D. Cal. 2014)................................................................ 22
   25 Sussman v. Am. Broad. Co., Inc.,
   26    971 F. Supp. 432 (C.D. Cal. 1997), CHH]F, 186 F.3d 1200 (9th Cir.
         1999) ................................................................................................................... 17
   27
      Tatung Co. v. Shu Tze Hsu,
   28    217 F. Supp. 3d 1138 (C.D. Cal. 2016) .............................................................. 13
                                                        -vi                       Case No. 2:19-cv-9105
                             BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 10 of 36 Page ID #:163




    1                                            TABLE OF AUTHORITIES
                                                       (Continued)
    2
                                                                                                                               Page
    3
         In re Toyota Motor Corp.,
    4        785 F. Supp. 2d 883 (C.D. Cal. 2011) .................................................................. 7
    5
      In re Toys R Us, Inc., Privacy Litig.,
    6     No. 00-CV-2746, 2001 WL 34517252 (N.D. Cal. Oct. 9, 2001) ....................... 17
    7 Turner v. Cook,
    8    362 F.3d 1219 (9th Cir. 2004) .............................................................................. 9
    9 U.S. Commodity FutureT <SCFKOI ,PNN]O W' 6POGY ,SGFKU ,P',
         931 F.3d 966 (9th Cir. 2019) .............................................................................. 20
   10
   11 United Energy Owners Comm., Inc. v. U.S. Energy Mgmt. Sys., Inc.,
         837 F.2d 356 (9th Cir. 1988) ................................................................................ 9
   12
      =OKUGF /PPF $ ,PNNGSEKCM ?PSLGST =OKPOT $ .NQ]ST 6KFXGTU
   13
         Health Benefits Fund v. Walgreen Co.,
   14    719 F.3d 849 (7th Cir. 2013) .............................................................................. 14
   15 Vega v. Ocwen Fin. Corp.,
   16     No. 2:14-cv-04408-ODW, 2015 WL 1383241 (C.D. Cal. Mar. 24,
          2015) .................................................................................................................. 10
   17
   18 Voris v. Lampert,
          7 Cal. 5th 1141 (2019) ........................................................................................ 23
   19
      Wassmann v. S. Orange Cty. Cmty. Coll. Dist.,
   20     24 Cal. App. 5th 825 (2018) ............................................................................... 24
   21
      In re WellPoint, Inc. Out-of-Network UCR Rates Litig.,
   22     865 F. Supp. 2d 1002 (C.D. Cal. 2011) ................................................................ 8
   23 Western Sugar Co-op. v. Archer-Daniels-Midland Co.,
   24   No. CV 11-3473CBM (MANx), 2012 WL 3101659 (C.D. Cal. July
        31, 2012) ............................................................................................................. 18
   25
   26 Yau v. Santa Margarita Ford, Inc.,
        229 Cal. App. 4th 144 (2014) ............................................................................. 24
   27
   28

                                                       -vii                       Case No. 2:19-cv-9105
                             BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 11 of 36 Page ID #:164




    1                                         TABLE OF AUTHORITIES
                                                    (Continued)
    2
                                                                                                                        Page
    3
         Statutes
    4
         18 U.S.C. Chapter 96 (RICO)................1, 2, 5, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 18
    5
    6 18 U.S.C. § 1962(c)(d) .................................................................................. 7, 12, 16
    7 18 U.S.C. § 2511(2)(d) ............................................................................................ 17
    8 18 U.S.C. § 2520(e) ................................................................................................. 17
    9
      Cal. Civ. Code § 52.1(Tom Bane Civil Rights Act) .......................................... 20, 21
   10
      Cal. Civ. Code § 2295.............................................................................................. 18
   11
      Cal. Penal Code §502 .............................................................................................. 22
   12
   13 Federal Wiretap Act ..................................................................................... 16, 17, 18
   14 Other Authorities
   15 Fed. R. Civ. Proc. 9(b) ......................................................................... 2, 7, 12, 18, 22
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                     -viii                      Case No. 2:19-cv-9105
                           BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 12 of 36 Page ID #:165




    1               MEMORANDUM OF POINTS AND AUTHORITIES
    2                           PRELIMINARY STATEMENT
    3        This action is a prime example of misuse of civil RICO by an overreaching
    4 plaintiff who seeks to gain leverage by invoking the extraordinary remedy Congress
    5 enacted to combat organized crime. Federal courts firmly reject the use of RICO in
    6 this way and require plaintiffs to plead and prove facts that adhere strictly to RICOts
    7 precise elements or face dismissal. The instant case shows exactly how civil RICO
    8 can be abused. The Complaint shoehorns myriad unrelated and unsupported claims
    9 against numerous individuals together under the umbrella of civil RICO. Plaintiffts
   10 attempt to fit dozens of square pegs into a single round hole fails, and the Complaint
   11 should be dismissed with prejudice.
   12        Plaintiff Rose McGowan, an activist and actress, alleges she was raped by
   13 Hollywood executive Harvey Weinstein in 1997. Those allegations are not at issue
   14 in this case. Rather, the Complaint alleges that, twenty years later, Weinstein
   15 directed attorneys and investigators to try to prevent mention of Weinstein in a book
   16 by McGowan and minimize the potential impact to him of any such mention. Even
   17 taking the Complaintts allegations at face value, defendants Lisa Bloom and The
   18 Bloom Firm (collectively, qBloomr) played a peripheral role that did not include
   19 hiring or contracting with Weinsteints investigators on whose conduct the
   20 Complaint focuses. The Complaint therefore falls far short of stating any
   21 cognizable claim for relief against Bloom.
   22        Instead, the Complaint lumps Weinstein together with over a dozen people
   23 and entities allegedly associated with him (including Bloom) into a supposed
   24 racketeering enterprise Plaintiff dubs the qWeinstein-Protection Enterprise.r
   25 Plaintiff makes sweeping, vague, and conclusory allegations that members of the
   26 supposed enterprise committed wire fraud to protect Weinstein. Plaintiffts
   27 qshotgunr pleading approach makes it impossible to discern what allegations relate
   28 to which defendants, which claims are asserted based on primary versus secondary

                                               -1-                       Case No. 2:19-cv-9105
                    BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 13 of 36 Page ID #:166




    1 liability theories, and what supposed misconduct is purportedly actionable.
    2 Plaintiffts allegations do not meet basic pleading standards, let alone the heightened
    3 standards that apply to fraud claims.
    4          As detailed below, Plaintiffts RICO claims should be dismissed for the
    5 following reasons:
    6         The Complaint fails to properly allege a RICO enterprise or pattern.
    7         As to Bloom in particular, the Complaint fails to identify two predicate acts, a
    8          basic requirement for any RICO claim.
    9         Plaintiff lacks standing to bring this claim because she does not allege
   10          causation or damages under the RICO statute. Indeed, to the extent Plaintiff
   11          alleges an injury to her professional reputation, that occurred as a result of her
   12          choice to cancel her book tour based on a suspicion that Weinstein had placed
   13          hecklers at her events, not on any of the supposed RICO predicates.
   14         Plaintiff fails to allege the wire fraud predicate acts with the specificity
   15          required by Rule 9(b).
   16         The Complaint does not allege that Bloom occupied the operational and
   17          management role required of each RICO defendant.
   18          Plaintiff also fails to sufficiently plead her federal wiretap claim, which is
   19 improperly based on a vicarious liability theory and fails to allege any underlying
   20 criminal or tortious conduct.
   21          Finally, each state law claim should be dismissed by the Court for lack of
   22 merit.
   23                RELEVANT FACTS AS ALLEGED IN COMPLAINT
   24          A.    Prefatory Statement
   25          Bloom briefly represented Weinstein as his attorney, beginning in December
   26 2016. She believed at the time that he was innocent of any illegal conduct and that
   27 the only credible allegations against him were for improper language, for which he
   28 was willing to apologize and refrain from using in the future. At that time, no

                                                 -2                        Case No. 2:19-cv-9105
                      BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 14 of 36 Page ID #:167




    1 woman had publicly accused him of sexual assault. In early October 2017, Bloom
    2 learned that several women (none of whom was Plaintiff) had spoken with reporter
    3 Ronan Farrow and accused Weinstein of sexual assault. Bloom immediately and
    4 publicly resigned and expressed regret for ever having been associated with
    5 Weinstein. Now faced with this lawsuit, Bloom has no choice but to defend herself.
    6        Bloom flatly denies nearly all of the allegations and insinuations in the
    7 Complaint relating to her. Plaintiff has a history of public misstatementspshe and
    8 her attorneys are currently defendants in a defamation lawsuit based on claims
    9 repeated in the Complaint (see Request for Judicial Notice filed concurrently
   10 ZWdWi[fZ %qI>BFr&( =j* -), and Plaintiff has previously had to retract false
   11 statements about Bloom. However, solely for the purpose of this Motion and only
   12 to the extent mandated by the Federal Rules of Civil Procedure, Plaintiffts baseless
   13 allegations are accepted at face value (subject to applicable pleading standards).
   14        B.     Plaintiff Publishes A Book Discussing Her Alleged Rape By
   15               Weinstein
   16        Plaintiff alleges that Weinstein raped her in 1997. (Compl., ¶¶ 4, 17.)
   17 Plaintiff and Weinstein reached a settlement with respect to those allegations. (Id.,
   18 ¶¶ 4, 19.) In 2016, nearly two decades after the alleged rape, Plaintiff began work
   19 on a book about her life called Brave, which included her experience with
   20 Weinstein. (Id., ¶ 6.) Plaintiff publicly announced she was writing this book in
   21 June 2016. (Id., ¶ 31.) Brave was published in January 2018. (Id., ¶ 6.)
   22        C.     Weinstein Attempts To Avoid Publication Of Brave And Minimize
   23               Negative Publicity And Legal Exposure
   24        When Weinstein learned of the impending publication of Plaintiffts book, he
   25 sought to avoid mention of him in the book and to minimize the negative impact to
   26 him. (Id., ¶ 7.) Weinstein was concerned that his misconduct would be revealed
   27 and that women other than Plaintiff might qpotentially report his sexual assault.r
   28 (Id.) As a result, Weinstein hired several professionals to assist him with

                                               -3                        Case No. 2:19-cv-9105
                    BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 15 of 36 Page ID #:168




    1 minimizing potential damage. (Id., ¶ 8.)
    2         In October 2016, Weinstein engaged defendants David Boies and his law
    3 firm, Boies Schiller Flexner LLP (collectively, qBoiesr), with respect to Weinsteints
    4 potential exposure from Plaintiffts expected disclosures. (Id., ¶ 34.) Boies has
    5 worked with Weinstein in various capacities since 2001. (Id., ¶¶ 23-26.)
    6         Also in October 2016, Boies, on Weinsteints behalf, allegedly engaged
    7 defendant Black Cube, an intelligence firm that conducts investigations on behalf of
    8 its clients. (Id., ¶¶ 36-37.) Black Cubets qagreements with clients stated that
    9 attorneys vetted its tactics and that it would conduct itself lawfully.r (Id., ¶ 37.)
   10 Boies allegedly made an initial payment to Black Cube on October 28, 2016, and
   11 :^SU] ;gTWte iad] a` NW[`efW[`te TWZS^X efSdfWV qi[fZ[` VSke*r (Id., ¶ 40-41.) A
   12 second contract between Black Cube and Boies (again, on Weinsteints behalf) was
   13 allegedly entered into in July 2017. (Id., ¶ 99.) Boies allegedly made additional
   14 payments on Weinsteints behalf to Black Cube in May and June of 2017. (Id., ¶¶
   15 90, 92.)
   16         D.    Weinstein Engages Lisa Bloom And Her Law Firm
   17         In December 2016, well after Boies and Black Cube were already defending
   18 Weinstein against Plaintiffts allegations, Weinstein engaged Bloom, qa well-known
   19 civil-rights attorney and a self-proclaimed woments advocate.r (Id., ¶ 48.) Bloom
   20 was not engaged until after Black Cube had begun working on NW[`efW[`te behalf.
   21 (Id.) Bloomts engagement was facilitated by Boies. (Id., ¶ 53.)
   22         Also in December 2016, Bloom allegedly emailed a letter to Weinstein
   23 describing the services that she might provide on his behalf if engaged by him. (Id.,
   24 ¶ 51.) Bloom proposed taking steps to bolster Weinsteints reputation and minimize
   25 the impact of Plaintiffts disclosures as part of Bloomts representation of Weinstein.
   26 (Id.) Plaintiff, while not disputing that Bloom is a practicing attorney, alleges
   27 conclusorily that Bloom did not provide legal advice, but offers no facts to support
   28 that conclusion. (Id.)

                                                -4                        Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 16 of 36 Page ID #:169




    1         Plaintiff does not allege that Bloom signed, negotiated, paid for, or was a
    2 party to any agreement with Black Cube. At various points, Plaintiff claims that
    3 Bloom (a) received information and records about Plaintiff from Black Cube (id., ¶¶
    4 78, 98, 111), (b) met on a single occasion with a Black Cube representative and
    5 qdiscussed [the representativets] activitiesr (id., ¶ 102), and (c) generally qoversaw
    6 and guidedr Black Cubets work (id., ¶ 140(c)). The Complaint contains no factual
    7 allegations (but only speculation and conclusion) suggesting that Bloom hired,
    8 directed, or instructed Black Cube to engage in any of the conduct alleged in the
    9 Complaint, or that Bloom exercised any control over Black Cube.
   10         E.    Black Cube Allegedly Engages In Work On Weinstein[s Behalf
   11         Black Cubepretained by Boies prior to Bloomts involvementpwas allegedly
   12 engaged to help Weinstein qburyr Plaintiffts book and put qa stop to the negative
   13 campaignr against Weinstein. (Id., ¶¶ 35, 39.) Black Cube allegedly engaged in a
   14 variety of tactics to gather information about Plaintiff and her book. These tactics
   15 allegedly included recording communications between Black Cube representatives
   16 and Plaintiff without Plaintiffts knowledge (id., ¶ 67); contacting Plaintiff through
   17 intermediaries to learn information about the book (id., ¶¶ 63-67, 97, 103-104, 107-
   18 110); befriending Plaintiff through an undisclosed agent to learn information about
   19 the book (id., ¶¶ 70-78); speaking to media outlets and journalists (id., ¶¶ 80, 105);
   20 and monitoring journalists (id., ¶¶ 85-89). Plaintiff also insinuates that Weinstein
   21 and/or Black Cube planted drugs in her wallet, caused her to be arrested, and then
   22 manipulated her criminal defense attorney (who is not a defendant but is himself
   23 alleged to be part of the supposed RICO enterprise). (Id., ¶¶ 55-62.) A pending
   24 defamation lawsuit against Plaintiff and her attorneys contends this allegation it
   25 belied by Plaintiffts sworn admission of guilt with respect to the drug charges.
   26 (RFJN, Ex. 1). Plaintiff advances no factual allegations that Bloom controlled or
   27 V[dWUfWV :^SU] ;gTWte S^^WYWV SUf[h[f[We a` TWZS^X aX NW[`efW[`*
   28

                                                -5                        Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 17 of 36 Page ID #:170




    1         F.     Plaintiff Releases Her Book But Cancels Her Book Tour
    2         Plaintiffts book Brave was released in January 2018. (Id., ¶ 127.) Plaintiff
    3 planned a book tour to promote sales of Brave. (Id., ¶ 128.) Plaintiff claims she
    4 experienced qodd and disturbing encountersr at the beginning of that tour but does
    5 not describe those encounters. (Id.) Plaintiff suspected Weinstein was qplanting
    6 hecklersr at her book tour events, although she does not allege her suspicion was
    7 founded on any information or that she ever learned it to be true. (Id.) Plaintiff
    8 does not allege that she ever took any steps to confirm that suspicion. (Id.) Plaintiff
    9 alleges that these events qtook a substantial tollr on her qmental health and
   10 wellbeing.r (Id.) After these qodd and disturbing encounters,r Plaintiff decided to
   11 cancel her book tour. (Id.)
   12         As a result of the cancellation, Plaintiff alleges she has suffered qconcrete
   13 economic losses, including interruption and termination of [her] relationships with
   14 commercial partners; fees and costs paid to [her] literary agents; legal fees and costs
   15 associated with the criminal drug-possession case and with WEINSTEINts efforts to
   16 prevent Bravets publication; decreased book sales; lost employment opportunities;
   17 lost commercial opportunities including film, television, book, and other media
   18 projects; and harm to [her] business reputation.r (Id., ¶ 131.)
   19                                        ARGUMENT
   20         A.     Legal Standard
   21         qTo survive a motion to dismiss, a complaint must contain sufficient factual
   22 matter, accepted as true, to sstate a claim to relief that is plausible on its face.tr
   23 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
   24 550 U.S. 544, 570 (2007)). It requires qmore than a sheer possibility that a
   25 defendant has acted unlawfully,r and q[w]here a complaint pleads facts that are
   26 merely consistent with a defendantts liability, it stops short of the line between
   27 possibility and plausibility of entitlement to relief.r Id. (internal quotation marks
   28 and citation omitted). q[M]ere conclusory statementsr or qlegal conclusionsr do not

                                                -6                        Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 18 of 36 Page ID #:171




    1 sufficeprthey must be supported by factual allegations.r Id. at 678o79.
    2         The heightened pleading standard of Federal Rule 9(b) applies to civil RICO
    3 claims when the predicate offenses involve fraud. See Edwards v. Marin Park, Inc.,
    4 356 F.3d 1058, 1065o66 (9th Cir. 2004). Critically, q[a] plaintiff may not simply
    5 lump together multiple defendants without specifying the role of each defendant in
    6 the fraud.r In re Toyota Motor Corp., 785 F. Supp. 2d 883, 919 (C.D. Cal. 2011)
    7 (dismissing RICO claims where allegations failed to specify each defendantte role in
    8 the predicate acts). The qcircumstancesr required by Rule 9(b) are the qwho, what,
    9 when, where, and howr of the fraudulent activity. Cafasso, U.S. ex rel. v. Gen.
   10 Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (internal quotation
   11 mark and citation omitted). In addition, the allegations must set forth qwhat is false
   12 or misleading about [a] statement, and why it is false.r Id. Claims made qon
   13 information and beliefr are usually insufficient under Rule 9(b). Rice v. U.S. Bank
   14 Nat]l Ass]n, No. CV 11-6214-GW (SSx), 2012 WL 10423291, at *5 (C.D. Cal. Jan.
   15 23, 2012) (holding that plaintiffts qupon information and beliefr allegations were
   16 insufficient to plead fraud).
   17         A court may deny leave to amend when it qdetermines that the allegation of
   18 other facts consistent with the challenged pleading could not possibly cure the
   19 deficiency.r Schreiber Distrib. Co. v. Serv-Well Furniture Co., Inc., 806 F.2d 1393,
   20 1401 (9th Cir. 1986).
   21         B.    Plaintiff Fails To Plead A Cognizable Civil RICO Claim
   22         To properly plead a civil RICO claim under 18 U.S.C. § 1962(c), a plaintiff
   23 must allege facts supporting the following elements with the required specificity:
   24 q%-& Ua`VgUf %.& aX S` W`fWdbd[eW %/& fZdagYZ S bSffWd` %0& aX dSU]WfWWd[`Y SUf[h[fk
   25 (known as predicate acts) (5) causing injury ta b^S[`f[XXte Tge[`Wee ad bdabWdfk*r
   26 Grimmett v. Brown, 75 F.3d 506, 510 (9th Cir. 1996) (internal quotation marks
   27 omitted). Plaintiff fails to adequately plead (1) a pattern of racketeering; (2)
   28 standing/causation; (3) wire fraud; or (4) the existence of an enterprise.

                                                -7                        Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 19 of 36 Page ID #:172




    1               1.     Plaintiff Has Not Pleaded A Pattern Of Racketeering Activity
    2         A qpatternr is defined as qat least two acts of racketeering activityr within a
    3 ten-year period that are qrelatedr and qamount to or pose a threat of continued
    4 criminal activity.r H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 237-39 (1989). A
    5 RICO plaintiff qmust allege at least two predicate acts by each defendantr to show a
    6 qpatternr of qracketeeringr activity. In re WellPoint, Inc. Out-of-Network UCR
    7 Rates Litig., 865 F. Supp. 2d 1002, 1035 (C.D. Cal. 2011) (emphasis omitted); Perez
    8 v. DirecTV Grp. Holdings, LLC, No. 16-cv-1440, 2019 WL 6362471, at *3 (C.D.
    9 Cal. July 23, 2019) (plaintiff must adequately plead two predicate acts as to each
   10 defendant); Richards v. Cty. of Los Angeles, No. CV 17-400 BRO, 2017 WL
   11 7411159, at *5-6 (C.D. Cal. Mar. 31, 2017) (dismissing RICO claim where
   12 qH^S[`f[XX ZSe `af S^^WYWV XSUfe fZSf VWeUd[TW Zai WSUZ aX fZW <WXW`VS`fe * * *
   13 Ua__[ffWV fia bdWV[USfW SUfe [` XgdfZWdS`UW aX fZSf W`fWdbd[eWr&* Here, paragraph
   14 141 of the Complaint lists all the alleged RICO predicate acts. Only one of these
   15 alleged predicate acts involves Bloom (the email referenced in Paragraph
   16 141(c)). This alone is fatal to Plaintiff[s RICO claims against Bloom.
   17         Even if Plaintiff had alleged that Bloom engaged in at least two predicate acts
   18 of qracketeeringr (which Plaintiff has not), the pattern allegations are still
   19 insufficient as matter of law. Multiple RICO offenses, if arising from a single event
   20 or for a single purpose, are insufficient to establish a pattern of racketeering. See
   21 Howard v. Am. Online Inc., 208 F.3d 741, 750 (9th Cir. 2000) (a qsflurryt of false
   22 and misleading advertisingr and other qrepeated fraudulent schemesr were
   23 insufficient to show a pattern of racketeering because it all related to AOLts flat-fee
   24 program, a single business campaign); Jarvis v. Regan, 833 F.2d 149, 152-53 (9th
   25 Cir. 1987) (affirming dismissal of a RICO claim where the alleged pattern consisted
   26 of three acts of mail and wire fraud committed by legal aid organizations in
   27 obtaining a single federal grant); United Energy Owners Comm., Inc. v. U.S. Energy
   28 Mgmt. Sys., Inc., 837 F.2d 356, 360 (9th Cir. 1988) (qRICOts continuity

                                                -8                        Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 20 of 36 Page ID #:173




    1 requirement is not satisfied if plaintiffs have merely alleged sa single fraud
    2 perpetrated on a single victimtr) (citations omitted); GSI Tech. v. United Memories,
    3 Inc., No. 5:13-cv-01081-PSG, 2014 WL 1572358, at *5 (N.D. Cal. Apr. 18, 2014)
    4 (alleged series of predicate acts of mail and wire fraud were all operated with a
    5 single goalpthe acquisition of a contract to design a memory chip). Here, Plaintiff
    6 alleges the wires were done for a single goal: to protect Weinstein from allegations
    7 in Plaintiffts book. (Compl., ¶¶ 138, 141.) This is insufficient.
    8         The alleged qschemer here was finite in nature. Plaintiff alleges that the goal
    9 of the racketeering activity was to defraud her and obtain a copy of her unpublished
   10 manuscript, both of which goals the Complaint alleges were achieved. See Turner v.
   11 Cook, 362 F.3d 1219, 1230 (9th Cir. 2004) (affirming dismissal where alleged
   12 actions qwere finite in naturer and the alleged enterprise had ceased activity);
   13 Religious Tech. Ctr. v. Wollersheim, 971 F.2d 364, 366 (9th Cir. 1992) (where the
   14 only qgoalr of the defendants was the successful prosecution of a state court tort
   15 suit, qthere was no threat of activity continuing beyond the conclusion of that suitr);
   16 id. at 367 (qA pattern of activity lasting only a few months does not reflect the slong
   17 term criminal conductt to which RICO was intended to apply.r); Medallion
   18 Television Enters., Inc. v. SelecTV of Cal., Inc., 833 F.2d 1360, 1364 (9th Cir. 1987)
   19 (where fraud was a joint venture to obtain broadcast rights, the threat ended once the
   20 rights were obtained); Howard, 208 F.3d at 750 (qActivity that lasts only a few
   21 months is not sufficiently continuous.r). :^aa_te SUf[a`e %Se abbaeWV fa afZWde [`
   22 the enterprise) only took place over an extremely brief periodpless than even a few
   23 months (Compl. ¶ 141)pand that is what is relevant. See Gross v. Waywell, 628 F.
   24 Supp. 2d 475, 495 (S.D.N.Y 2009) (complaint must demonstrate the RICO elements
   25 as to each defendant individually). Plaintiffts RICO claim against Bloom should
   26 therefore be dismissed.
   27               2.     Plaintiff Lacks Standing To Assert Purported RICO Claims
   28

                                                -9                        Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 21 of 36 Page ID #:174




    1                      Based On The Alleged Injury
    2                      a.    Plaintiff Fails To Allege Both But-For And Proximate
    3                            Causation
    4         qStatutory standing under RICO is narrower than injury-in-fact standing
    5 under Article III.r Vega v. Ocwen Fin. Corp., No. 2:14-cv-04408-ODW (PLAx),
    6 2015 WL 1383241, at *11 (C.D. Cal. Mar. 24, 2015) (Wright, J.). RICO confers
    7 standing on a plaintiff only if the alleged predicate offenses were both the qbut forr
    8 and proximate cause of an injury to plaintiffts business or property. Sedima,
    9 S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985) (q[P]laintiff only has standing if . . .
   10 he has been injured in his business or property by the conduct constituting the
   11 violation.r); Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9 (2010) (q[T]o state
   12 a claim under civil RICO, the plaintiff is required to show that a RICO predicate
   13 offense snot only was a qbut forr cause of his injury, but was the proximate cause as
   14 well.tr) (quoting Holmes v. Sec. Inv]r Prot. Corp., 503 U.S. 258, 268 (1992)). The
   15 causation requirement is qstringent.r Prime Partners IPA of Temecula, Inc. v.
   16 Chaudhuri, No. 5:11-cv-01860-ODW (FMOx), 2012 WL 1669726, at *8 (C.D. Cal.
   17 May 14, 2012) (Wright, J.).
   18         Plaintiff fails to allege a causal link between :^aa_te supposed RICO
   19 predicate acts and any claimed injury. Accordingly to Plaintiff, the chain of
   20 causation is: (1) Weinstein hires an investigator; (2) through the investigator,
   21 Weinstein obtains a copy of Plaintiffts unpublished manuscript and other
   22 information about Plaintiff; (3) news articles are published about Weinstein; (4)
   23 Plaintiffts book is released in January 2018; (5) Weinstein releases a statement the
   24 same day as the bookts release disputing Plaintiffts account of events; (6) Plaintiff
   25 begins her book tour; (7) Plaintiff experiences some unspecified qodd and disturbing
   26 encounters right at the tourts beginning,r though she does not describe those
   27 encounters; (8) Plaintiff becomes qconcerned that WEINSTEIN was planting
   28 hecklersr at her book tour events (although she does not allege that this actually

                                                -10                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 22 of 36 Page ID #:175




    1 took place, only that she was qconcernedr); (9) Plaintiff takes no steps to determine
    2 if that concern was merited; (10) Plaintiff cancels her book tour; and, finally, (11) as
    3 a result of Plaintiff]s decision to cancel her book tour, her book-related income and
    4 relationships in the literary community suffer. (Compl., ¶¶ 120-124, 128, 145.)
    5         This attenuated chain of causation is far more remote than what is recognized
    6 under RICO . Prime Partners, 2012 WL 1669726, at *10 (qs[T]he general tendency
    7 of the law, in regard to damages at least, is not to go beyond the first step,t and that
    8 sgeneral tendencyt applies with full force to proximate cause inquiries under
    9 RICO.r). Plaintiffts alleged injuries resulted from her decision to cancel her book
   10 tour, not from anything Bloom did. Any connection between the alleged interstate
   11 use of wires and her subsequent claimed injuries resulting from that cancellation is
   12 simply qtoo remoter to satisfy proximate causation. Encarnacao v. Phase Forward
   13 Inc., No. CV 11-05090 ODW (PLA), 2012 WL 404971, at *3o4 (C.D. Cal. Feb. 7,
   14 2012) (Wright, J.) (dismissing RICO claim with prejudice because it did qnot appear
   15 that Plaintiff could plead any set of facts plausibly establishing the requisite causal
   16 relationship between Plaintiffts alleged fraud claim and his resulting injury to
   17 constitute a viable RICO claimr).
   18                       b.    Plaintiff Fails To Sufficiently Allege Any Concrete
   19                             Financial Loss
   20         Plaintiff also lacks standing because the Complaint fails to allege facts
   21 demonstrating a qconcrete financial loss.r q[A] RICO injury must be a concrete
   22 financial loss, and not mere injury to a valuable intangible property interest. A
   23 plaintiff cannot maintain a RICO claim where the loss he has suffered is purely
   24 speculative.r Camarillo v. City of Maywood, No. CV 07-3469 ODW (SHx), 2008
   25 WL 4056994, at *2 (C.D. Cal. Aug. 27, 2008) (Wright, J.) (citations and quotation
   26 marks omitted). Here, Plaintiff has only alleged purported injury to intangible
   27 property interests.
   28         Plaintiff alleges that her damages consist of, for example, qinterference with

                                                -11                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 23 of 36 Page ID #:176




    1 her relationships with her publisher and the many retailers involved in [her] book
    2 tourr that she cancelled. (Compl., ¶ 145.) Plaintiff complains of qdecreased book
    3 sales,r qlost commercial opportunities,r and qfees and costs paid to [her] literary
    4 agents.r (Id.) None of these complaints suffices to establish a cognizable RICO
    5 damages claim. It is true that, under certain circumstances, loss of employment
    6 opportunities may form the basis of a RICO claim. See Diaz v. Gates, 420 F.3d 897,
    7 901 (9th Cir. 2005). However, that general rule does not save Plaintiffts claim,
    8 given that she offers no facts that support any claimed concrete financial loss. See
    9 Camarillo, 2008 WL 4056994, at *2 (dismissing RICO claim with prejudice
   10 because, inter alia, plaintiff qoffer[ed] no facts capable of supporting his property
   11 injuryr). Plaintiff does not identify any supposed qlost employment opportunities,r
   12 and all alleged economic loss derives from Plaintiffts claimed reputational damage
   13 resulting from her decision to cancel her book tour based on suspicions about
   14 Weinstein. (Compl., ¶ 145.)
   15               3.     Plaintiff Has Not Pleaded Wire Fraud With Particularity
   16         To satisfy Rule 9(b) on a wire fraud claim, a plaintiff must allege when the
   17 wires were used and how that use furthered a scheme to defraud. See Nunag-
   18 Tanedo v. E. Baton Rouge Par. Sch. Bd., 790 F. Supp. 2d 1134, 1148-49 (C.D. Cal.
   19 2011). A plaintiff must also identify the parties to the misrepresentations
   20 constituting the fraud. See Sanford v. MemberWorks, Inc., 625 F.3d 550, 558 (9th
   21 Cir. 2010) (wire fraud allegations failed because plaintiffs did not allege which of
   22 the defendants made the telephone calls to purchase alleged bait products). In
   23 assessing if a pleading sufficiently pleads a claim under section 1962(c), courts
   24 qZShW TWW` bSdf[Ug^Sd^k eW`e[f[hW fa QIg^WR 5%T&te b^WSV[`Y dWcg[dW_W`fe [` IA;G
   25 USeWe [` iZ[UZ fZW sbdWV[USfW SUfet SdW _S[^ XdSgV S`V i[dW XdSgV( S`V ZShW XgdfZWd
   26 required specific allegations as to which defendant caused what to be mailed (or
   27 made which telephone calls), and when and how each mailing (or telephone call)
   28 XgdfZWdWV fZW XdSgVg^W`f eUZW_W*r Hill v. Opus Corp., 841 F. Supp. 2d 1070, 1089

                                                -12                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 24 of 36 Page ID #:177




    1 (C.D. Cal. 2011) (citation omitted). Applied here, Plaintiffte S^^WYSf[a`e XS[^ fa
    2 plead wire fraud because she has not alleged with specificity that Bloom qformed a
    3 schemer to defraud, used the wires in furtherance of a scheme, sent particular
    4 documents via wire, or had the qspecific intent to deceive or defraud.r Schreiber,
    5 806 F.2d at 1400.
    6          Rather, the Complaint alleges only a single purported improper use of the
    7 wires by Bloom.1 (Compl., ¶ 141(c).) That allegation is pleaded on information and
    8 belief and is generally alleged to have occurred in December 2016. (Id.) Plaintiff
    9 fails to allege any way in which this alleged email was fraudulent, or even who was
   10 supposedly defraudedpthis email was not sent to Plaintiff and is not alleged to
   11 contain any false or illegal content. Nor does Plaintiff factually allege that Bloom
   12 had any specific intent to deceive or defraud Plaintiff at the time of her December
   13 2016 email. Accordingly, Plaintiff has not satisfied her pleading requirements.
   14 Giron v. Hong Kong & Shanghai Bank Co., No. 2:15-cv-08869-ODW-JC, 2016 WL
   15 6662726, at *6 (C.D. Cal. June 29, 2016) (Wright, J.) (dismissing RICO claim
   16 without leave to amend because, inter alia, plaintiff failed to sufficiently allege qany
   17 specific intent to deceive or defraudr).
   18                  4.      The Complaint Lacks Sufficient Allegations Regarding The
   19                          Existence Of An Enterprise and Bloomts Supposed Involvement
   20          To properly plead a RICO claim, a plaintiff must also allege the existence of
   21 an enterprise, i.e., she qmust plead that the enterprise has (A) a common purpose,
   22 (B) a structure or organization, and (C) longevity necessary to accomplish the
   23
        1
   24     Plaintiff must specifically allege that each named defendant committed the alleged RICO
        predicate acts. General allegations that a defendant was involved in a supposedly fraudulent
   25   W`fWdbd[eW Se S qUa`eb[dSfadr SdW `af egXX[U[W`f* Tatung Co. v. Shu Tze Hsu, 217 F. Supp. 3d 1138,
        1169-70 (C.D. Cal. 2016) %b^S[`f[XXte S^^WYSf[a`e fZSf VWXW`VS`f iSe qfZW SdUZ[fWUf aX _S`k XSUWfe
   26   aX XdSgV(r S`V S`afZWd bSdfk qfaa] V[dWUf[a`r Xda_ fZW VWXW`VS`f( iWdW [`egXX[U[W`f fa [`XWd fZSf fZ[e
        defendant actually committed the predicate acts). Therefore, to the extent Plaintiff purports to
   27   plead claims against Bloom based on the alleged conduct of other Defendants, those allegations as
   28   a matter of law do not support a RICO claim.

                                                   -13                       Case No. 2:19-cv-9105
                        BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 25 of 36 Page ID #:178




    1 purpose.\ Eclectic Prop. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 997
    2 (9th Cir. 2014). The commonality and coordination must go beyond the level of
    3 cooperation inherent in typical commercial relationships. See, e.g., United Food &
    4 Commercial Workers Unions & Emp]rs Midwest Health Benefits Fund v. Walgreen
    5 Co., 719 F.3d 849, 854-55 (7th Cir. 2013) (qenterpriser allegations failed to show
    6 that the defendants involved themselves in each otherts business beyond their usual
    7 commercial relationship). A RICO enterprise must also exist separately from the
    8 purported pattern of racketeering activity. Crest Constr. II, Inc. v. Doe, 660 F.3d
    9 346, 354-55 (8th Cir. 2011) (qIn deciding whether an alleged RICO enterprise has
   10 an ascertainable structure distinct from the pattern of racketeering activity, we must
   11 determine if the enterprise would still exist were the predicate acts removed from
   12 the equation.r) (citation and internal quotation marks omitted).
   13         Here, Plaintiff lumps all defendants (plus other non-defendant individuals)
   14 into an amorphous entity she calls the qWeinstein-Protection Enterprise.r (Compl. ¶
   15 135.) This falls far short of what is required. See Crest, 660 F.3d at 355 (holding
   16 that bare allegations of interrelation and association between companies was
   17 insufficient to plead a RICO enterprise). Absent from Plaintiffts Complaint are
   18 factual allegations showing qthe requisite connection between [Bloomts] association
   19 with the enterprise and [Bloomts] participation in the alleged criminal activity. That
   20 missing connection is how each individual Defendant exploited his or its
   21 participation in the criminal activity as a means to participate in the operation or
   22 management of the enterprise with which each Defendant was associated.r Prime
   23 Partners, 2012 WL 1669726 at *12.
   24         The absence of these allegations is particularly significant here, where Bloom
   25 is a licensed and practicing attorney. In order to qparticipate, directly or indirectly,
   26 in the conduct of [an] enterprisets affairs, one must have some part in directing
   27 those affairs.r Reves v. Ernst & Young, 507 U.S. 170, 179 (1993) (internal
   28 quotation marks omitted). Because Bloom provided professional services to

                                                -14                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 26 of 36 Page ID #:179




    1 Weinstein, Plaintiffts generalized allegations of some kind of association are
    2 insufficient. See Baumer v. Pachl, 8 F.3d 1341, 1344 (9th Cir. 1993) (attorneyts
    3 legal work spanning multiple years was insufficient to impute RICO liability
    4 because, inter alia, the attorneyts work did not begin until after the inception of the
    5 enterprise, the attorney held no qformal positionr in the organization, and the
    6 attorney did not play a part in qdirecting the affairs of the enterpriser); see also
    7 Hayden v. Paul, Weiss, Rifkind, Wharton & Garrison, 955 F. Supp. 248, 254
    8 (S.D.N.Y. 1997) (q[I]t is well established that the provision of professional services
    9 by outsiders, such as accountants, to a racketeering enterprise, is insufficient to
   10 satisfy the participation requirement of RICO, since participation requires some part
   11 in directing the affairs of the enterprise itself.r). Taken to its logical conclusion,
   12 Plaintiffts theory would expose all attorneys who had ever represented a client to
   13 RICO liability simply because their former clients decided to engage in a pattern of
   14 racketeering.
   15         Plaintiff has not alleged any ascertainable structure or decision-making
   16 process distinct from the acts that allegedly constitute a pattern of racketeering
   17 activity. Merely repeating the word qenterpriser does not convert various
   18 individuals and organizations into a structure that falls under RICO. See Mattel, Inc.
   19 v. MGA Entm]t, Inc., 782 F. Supp. 2d 911, 1041 (C.D. Cal. 2011) (enterprise
   20 allegations failed due to absence of allegations regarding a shared common purpose
   21 or operation as a continuing unit); Eaves v. Designs for Fin., Inc., 785 F. Supp. 2d
   22 229, 263 (S.D.N.Y. 2011) (dismissing RICO claim where plaintiff failed to qallege
   23 any details regarding the hierarchy or organization of the alleged enterprise, or to
   24 advance any facts suggesting that the constituent members of the alleged enterprise
   25 functioned as a unitr). Plaintiffts RICO claim should therefore be dismissed.
   26                5.     Plaintiffts RICO Conspiracy Claim (Count II) Fails
   27         Because Plaintiff fails to state a claim for primary violations of RICO under
   28 section 1962(c), her RICO conspiracy claim under section 1962(d) must also be

                                                 -15                       Case No. 2:19-cv-9105
                      BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 27 of 36 Page ID #:180




    1 dismissed. See Howard, 208 F.3d at 751 (qEven if Plaintiffs properly claimed that
    2 the defendants agreed to be a part of an enterprise, the failure to allege substantive
    3 violations precludes their claim that there was a conspiracy to violate RICO.r). But
    4 even assuming arguendo that Plaintiff properly pleaded a primary RICO violation,
    5 she has still insufficiently alleged a RICO conspiracy pursuant to 18 U.S.C. §
    6 1962(d). To plead a RICO conspiracy, a plaintiff must allege either an agreement to
    7 violate the substantive provisions of RICO, or that the defendants agreed to commit
    8 or participate in the commission of two or more predicate offenses. See id. at 751
    9 (affirming dismissal of RICO conspiracy claim). Conclusory statements that all
   10 defendants conspired to engage in all the substantive offenses fail to state a claim.
   11 See Stewart v. Wachowski, No. CV 03-2873-MMM-(VBKx), 2005 WL 6184235, at
   12 *14 n.73 (C.D. Cal. June 14, 2005). Plaintiffts conclusory allegations (Compl., ¶¶
   13 147-148) do not satisfy these requirements.
   14          C.     Plaintiff Has Failed To Sufficiently Plead A Claim Under The
   15                 Federal Wiretap Act
   16          Count III of the Complaint is styled as a qFederal Wiretap Actr claim against
   17 all Defendants. However, absent from the Complaint is any factual allegation that
   18 Bloom directly engaged in any such violation. (Compl., ¶¶ 149-155.)2 The basis for
   19 this claim is apparently a supposed secondary liability theory, i.e., that Bloom is
   20 liable for acts committed by Black Cube. As a matter of law, no such remedy exists;
   21 the Wiretap Act qdoes not provide a cause of action against aiders and abetters,
   22 and . . . plaintiffs may not proceed against [defendants] on such theory.r In re Toys
   23 R Us, Inc., Privacy Litig., No. 00-CV-2746, 2001 WL 34517252, at *7 (N.D. Cal.
   24 Oct. 9, 2001); see also Doe v. Federal Democratic Republic of Ethiopia, 189
   25
   26   2
        Ka fZW WjfW`f H^S[`f[XX S^^WYWe egbbaeWV qgeWr Tk :^aa_( fZWdW SdW `a XSUfe [` fZW ;a_blaint that
      support such an allegation. Dorris v. Absher( -35 >*/V 0.,( 0.2 %2fZ ;[d* -555& %qQDR[efW`[`Y
   27 S^a`W [e [`egXX[U[W`f fa [_baeW ^[ST[^[fk Xad sge[`Yt [^^WYS^^k [`fWdUWbfWV Ua__g`[USf[a`e*r&7
   28 Reynolds v. Spears, 93 F.3d 428, 432-33 (8th Cir. 1996) %^[efW`[`Y VaWe `af Ua`ef[fgfW qgeWr&*

                                                  -16                       Case No. 2:19-cv-9105
                       BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 28 of 36 Page ID #:181




    1 F.Supp.3d 6, 15 (D.D.C. 2016) (q[T]he sperson or entityt subject to suit must be the
    2 same sperson or entityt that violated the statute.r), CHH]F, 851 F.3d 7 (D.C. Cir.
    3 2017). Therefore, Bloom cannot be vicariously liable for a Wiretap Act violation.
    4         Moreover, because the Federal Wiretap Act is a qone-party consentr law,
    5 Plaintiffts claim fails for the independent reason that at least one party to every
    6 allegedly qinterceptedr communication consented. See 18 U.S.C. § 2511(2)(d).
    7 Plaintiff does not dispute that one party to every qinterceptedr communication
    8 consented. Nor does Plaintiff allege that Bloom (or any other Defendant) recorded
    9 any communications for the purpose of committing any criminal or tortious act, an
   10 additional required element. Sussman v. Am. Broad. Co., Inc., 971 F. Supp. 432,
   11 435 (C.D. Cal. 1997) (qPlaintiffs may only recover if they can show that the
   12 recordings were made for the purpose of committing a criminal or tortious act.r),
   13 CHH]F, 186 F.3d 1200 (9th Cir. 1999). As the Ninth Circuit explained, qthe focus is
   14 not upon whether the interception itself violated another law; it is upon whether the
   15 purpose for the interceptionpits intended usepwas criminal or tortious.r Sussman,
   16 186 F.3d at 1202 (citation and internal quotation marks omitted). Plaintiff has
   17 pleaded no facts demonstrating an unlawful purpose, and this claim must be
   18 dismissed.
   19         The applicable statute of limitations provides an additional and independent
   20 basis for dismissal. The limitations period for this claim is two years. 18 U.S.C. §
   21 2520(e). The alleged wiretapping activity took place more than two years prior to
   22 filing the Complaint. (Compl., ¶¶ 72-74). To the extent Plaintiff contends delayed
   23 discovery of the factual basis for this or any other of her claims, the Complaint fails
   24 to demonstrate beyond conclusory statements why the relevant facts could not have
   25 been discovered sooner.
   26         D.    None Of The State Law Claims Has Merit
   27         The state law claims for which this Court has supplemental subject matter
   28 jurisdiction should be dismissed.

                                                -17                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 29 of 36 Page ID #:182




    1                  1.     The State Law Claims Based On A Vicarious Liability Theory
    2                         Must Be Dismissed
    3          Plaintiffts various state law claims against Bloom are pleaded primarily on
    4 theories of vicarious liability. As to Bloom, Plaintiff appears to base Counts IV, V,
    5 VI, VII, VII, and X on a vicarious liability theory. Yet, no pleaded facts
    6 demonstrate a principal-agent relationship between Bloom and Black Cube (or
    7 between Bloom and anyone else) and must therefore be dismissed.3
    8          qAn agent is one who represents another . . . in dealings with third persons.r
    9 Cal. Civ. Code § 2295. It qis the relationship which results from the manifestation
   10 of consent by one person to another that the other shall act on his behalf and subject
   11 to his control, and consent by the other so to act.r WCO]U :PPF W' ,PVOUZ PH ;anta
   12 Clara, 113 Cal. App. 4th 549, 571 (2003) (citation and internal quotation mark
   13 omitted). q[F]ormation of an agency relationship is a bilateral matter. Words or
   14 conduct by both principal and agent are necessary to create the relationship.r Id.
   15 (citation and internal quotation marks omitted). qIn the absence of the essential
   16 characteristic of the right of control, there is no true agency.r Id. at 572 (citation
   17 and internal quotation marks omitted).
   18          Here, the Complaint contains no factual allegations that Black Cube acted as
   19 Bloomts agent in connection with its actions. To the contrary, Plaintiff alleges that
   20 Black Cube worked on Weinsteints behalf (Compl., ¶¶ 38, 89-90, 94-95); Black
   21 Cube was engaged on Weinsteints behalf by Boies (id., ¶¶ 36, 38, 89, 99); Black
   22 Cube was paid by Boies (id., ¶¶ 40, 90, 92); and Black Cubets work began before
   23
   24   3
          >ad H^S[`f[XXte XdSgV-based claims, this relationship must be pleaded according to the Rule 9(b)
   25   standard. See Western Sugar Co-op. v. Archer-Daniels-Midland Co., No. CV 11-3473 CBM
        (MANx), 2012 WL 3101659, at *5 %;*<* ;S^* Bg^k /-( .,-.& %qsQNRZW` fZW b^S[`f[XX dW^[We gba`
   26   the same circumstances to establish both the alleged fraud and the agency relationship . . . the
        reasons for more particularized pleading that animate Rule 9(b) apply with equal force to the issue
   27   aX SYW`Uk S`V fa fZW g`VWd^k[`Y XdSgV U^S[_*tr& %a_[ee[a` [` ad[Y[`S^& %cgaf[`Y Lachmund v. ADM
   28   Investor Servs., 191 F.3d 777, 783 (7th Cir. 1999))).

                                                  -18                       Case No. 2:19-cv-9105
                       BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 30 of 36 Page ID #:183




    1 Bloom had any involvement with Weinstein or Boies (id., ¶¶ 36, 48). Plaintiff
    2 alleges only a single meeting between Bloom and Black Cube, during which Black
    3 Cubets work was qdiscussedr %Se abbaeWV fa qV[dWUfWVr& (Id., ¶ 102.) Absent are
    4 any facts that would show the manifestation of a principal-agent relationship
    5 through which Bloom controlled Black Cubets conduct. Each claim that is based on
    6 Bloomts purported liability for Black Cubets actions must be dismissed.
    7         Plaintiff also alludes to the possibility of a principal-agent relationship
    8 between Bloom and Lacy Lynch (Plaintiffts literary agent)pthe entirety of which is
    9 that Lynch told Plaintiff qthat BLOOM wanted to speak with [Plaintiff] about
   10 WEINSTEINr but that Plaintiff declined to do so. (Compl., ¶ 69.) Plaintiff offers
   11 no factual allegations that support the existence of an agency relationship between
   12 Lynch and Bloom. (Id.)
   13                2.     Plaintiff Has Failed To State A Claim Against Bloom For Fraud
   14                       (Counts IV and V)
   15         qThe elements of fraud, which give rise to the tort action for deceit, are (a)
   16 misrepresentation (false representation, concealment, or nondisclosure);
   17 (b) knowledge of falsity (or sscientert); (c) intent to defraud, i.e., to induce reliance;
   18 (d) justifiable reliance; and (e) resulting damage.r Lazar v. Super. Ct., 12 Cal. 4th
   19 631, 638 (1996) (citation and internal quotation marks omitted). Each element of a
   20 fraud claim must be pleaded with specificity. U.S. Commodity Futures Trading
   21 Comm]n v. Monex Credit Co., 931 F.3d 966, 972 (9th Cir. 2019). However, the
   22 Complaint does not allege a single false representation made by Bloom to Plaintiff,
   23 let alone allege with required specificity the basic facts about misrepresentations for
   24 which Bloom is supposedly vicariously liable, such as who made the
   25 misrepresentations, when they were made, how they were fraudulent, or in what
   26 way Plaintiff supposedly relied. (See Compl., ¶¶ 158, 167.) Bloom has no way to
   27 assess, for example, whether the alleged misrepresentations took place before or
   28 after she was engaged by Weinsteinpthat basic, necessary information is absent

                                                -19                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 31 of 36 Page ID #:184




    1 from the Complaint. Finally, Plaintiff does not allege with specificity any supposed
    2 damages proximately caused by the alleged fraud (as opposed to the speculative
    3 damages Plaintiff references that may have resulted from her voluntary cancellation
    4 of her book tour). (Id., ¶¶ 164, 173.) These claims should therefore be dismissed.
    5                 3.     Plaintiff Has Failed To State A Claim For Violations Of The
    6                        Bane Act (Count VI)
    7          The Bane Act protects individuals from interference with federal or state
    8 rights by way of qthreats, intimidation, or coercion.r Chaudhry v. City of Los
    9 Angeles, 751 F.3d 1096, 1105 (9th Cir. 2014) (quoting Cal. Civ. Code § 52.1).
   10 qSpeech alone is not sufficient to support an action brought [under the Bane Act],
   11 except upon a showing that the speech itself threatens violence against a specific
   12 person or group of persons; and the person or group of persons against whom the
   13 threat is directed reasonably fears that, because of the speech, violence will be
   14 committed against them or their property and that the person threatening violence
   15 had the apparent ability to carry out the threat.r Cal. Civ. Code § 52.1(k).
   16          Plaintiffts Bane Act claim fails on its face, as it is based entirely on supposed
   17 misstatements by various parties that, according to the Complaint, resulted in an
   18 invasion of Plaintiffts privacy.4 This is exactly the sort of qspeech aloner that is
   19 insufficient to support a claim under the language of the statute. Cal. Civ. Code §
   20 52.1(k); Cabesuela v. Browning-Ferris Indus. of Cal., Inc., 68 Cal. App. 4th 101,
   21 111 (1998) (dismissing Bane Act claim because plaintiffts allegations qin no way
   22 show actual violence or intimidation by the threat of violencer); Milligan v. County
   23 of Orange, No. SACV 10-1874 JVS (RNBx), 2011 WL 13225139, at *4 (C.D. Cal.
   24
        4
   25   :^aa_te S^^WYWV ^[ST[^[fk Xad :S`W 9Uf h[a^Sf[a`e [e bdW_[eWV a` S qXS^eW S`V VWUWbf[hW SbbdaSUZ
      to [H^S[`f[XXR fZdagYZ Dk`UZ*r %;a_b^*( n -34*& KZW ;a_b^S[`f Ua`fS[`e `a S^^WYSf[a`e egbbadf[`Y
   26 the existence of any dW^Sf[a`eZ[b TWfiWW` :^aa_ S`V Dk`UZ( H^S[`f[XXte ^[fWdSdk SYW`f* %See supra
      Argument Section E.1.)
   27
   28

                                                  -20                       Case No. 2:19-cv-9105
                       BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 32 of 36 Page ID #:185




    1 ESd* -0( .,--& %q9TeW`f ebWU[X[U fZdWSfe aX h[a^W`UW( <WXW`VS`fet iadVe _Sk `af
    2 form the basis of a § 52.1 claim*r&*
    3               4.     Plaintiff Has Failed To Allege A Claim Against Bloom For
    4                      Invasion Of Privacy (Count VII)
    5         Plaintiff fails to sufficiently plead against Bloom the basic elements of an
    6 invasion of privacy claim. Plaintiff admits that in May 2017 she voluntarily gave
    7 Filip (a Black Cube agent) access to the draft Brave manuscript on her computer.
    8 (Compl., ¶ 194.) Plaintiff voluntarily spoke with Filip and revealed information.
    9 (Id., ¶ 77.) And all the information at issue was contained in a book that Plaintiff,
   10 by 2016, had decided to publish (i.e., to share with the world) and did in fact publish
   11 in 2018. (Id., ¶ 6.) These circumstances do not support an invasion of privacy
   12 claim. 1KMM W' 7CU]M ,PMMGIKCUG *UJMGUKE *TT]O, 7 Cal. 4th 1, 26 (1994) (qQKRZW
   13 plaintiff in an invasion of privacy case must have conducted himself or herself in a
   14 manner consistent with an actual expectation of privacy, i.e., he or she must not
   15 have manifested by his or her conduct a voluntary consent to the invasive actions of
   16 defendant.r) (citation and internal quotation marks omitted). In addition, and as
   17 discussed above, this claim is based on a vicarious liability theory, but Plaintiff has
   18 not pleaded factual allegations showing that Black Cube was an agent of Bloomts.
   19         >[`S^^k( ;S^[Xad`[Ste a`W-year statute of limitations for invasion of privacy
   20 claims has run. See Maheu v. CBS, Inc., 201 Cal. App. 3d 662, 676 (1988). Each
   21 alleged invasion of privacy took place more than two years prior to the filing of the
   22 Complaint, and Plaintiff acknowledges she learned about the invasions, at the latest,
   23 in November 2017. (Compl., ¶ 123.) This claim should therefore be dismissed.
   24               5.     Plaintiff Has Failed To State A Claim Against Bloom For
   25                      Computer Crimes (Count VIII)
   26         Plaintiff alleges that all defendants engaged in computer crimes in violation of
   27 qCal. Civ. Code. § 502(c)(1).r (Compl., ¶ 192.) Plaintiff likely intended to
   28 reference Section 502 of the Penal Code, not the Civil Code. The Rule 9(b)

                                                -21                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 33 of 36 Page ID #:186




    1 heightened pleading standard applies to this claim. Craigslist, Inc. v. Mesiab, No. C
    2 08-05064 CW (MEJ), 2009 WL 10710286, at *10 (N.D. Cal. Sept. 14, 2009)
    3 %q;^S[_e Xad h[a^Sf[a`e aX JWUf[a` 1,. SdW egT\WUf fa >WVWdS^ Ig^W 5%T&te ZW[YZfW`WV
    4 b^WSV[`Y dWcg[dW_W`f*r&( adopted by, No. 08-05064 CW, 2009 WL 10710276 (N.D.
    5 Cal. Oct. 19, 2009).
    6         Here, Plaintiffts claim fails as a matter of law. This claim requires that
    7 improper access was achieved qby circumventing technical or code-based barriers
    8 intended to restrict such access.r Sunbelt Rentals, Inc. v. Victor, 43 F. Supp. 3d
    9 1026, 1033 (N.D. Cal. 2014). Such allegations are absent from the Complaint.
   10 Plaintiff acknowledges that she gave permission to access the information in
   11 question on her computer in May 2017. (Compl., ¶ 194.) Any other instances of
   12 allegedly unauthorized access are pleaded entirely on information and belief without
   13 any factual specificity or reference to technical breaches and, as such, they do not
   14 satisfy the Rule 9(b) standard. (Id., ¶¶ 103, 195.) In addition, the supposed
   15 violations that took place in New York (id., ¶¶ 103, 195) are outside the territorial
   16 reach of this California statute. Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207
   17 %.,--& %qQNRW bdWeg_W fZW DWY[e^SfgdW V[V `af [`fW`V S efSfgfW fa TW abWdSf[he, with
   18 respect to occurrences outside the state, . . . unless such intention is clearly
   19 expressed or reasonably to be inferred from the language of the act or from its
   20 bgdbaeW( egT\WUf _SffWd ad Z[efadk*r& %a_[ee[a` [` ad[Y[`S^& %U[fSf[a` S`V [`fWd`S^
   21 quotation marks omitted). This claim should therefore be dismissed.
   22                6.    Plaintiff Has Failed To State A Claim Against Bloom For
   23                      Conversion (Count IX)
   24         q[T]he tort [of conversion] comprises three elements: (a) plaintiffts ownership
   25 or right to possession of personal property, (b) defendantts disposition of property in
   26 a manner inconsistent with plaintiffts property rights, and (c) resulting damages.r
   27 Voris v. Lampert, 7 Cal. 5th 1141, 1150 (2019) (internal quotation marks and
   28 citation omitted). Here, Plaintiffts purported conversion claim fails as a matter of

                                                -22                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 34 of 36 Page ID #:187




    1 law since she fails to allege that Bloom dispossessed her of any property. (Compl.,
    2 ¶ 103.) Plaintiff also fails to allege damages resulting from the supposed
    3 conversion. (Id., ¶ 201). This claim should therefore be dismissed.
    4                7.    Plaintiff Has Failed To State A Claim Against Bloom For
    5                      Intentional Infliction Of Emotional Distress (Count X)
    6         qThe elements of a cause of action for intentional infliction of emotional
    7 distress are (i) outrageous conduct by defendant, (ii) an intention by defendant to
    8 cause, or reckless disregard of the probability of causing, emotional distress, (iii)
    9 severe emotional distress, and (iv) an actual and proximate causal link between the
   10 tortious conduct and the emotional distress.r Nally v. Grace Cmty. Church, 47 Cal.
   11 3d 278, 300 (1988). Here, Plaintiffts allegations against Bloom are too vague to
   12 satisfy even the most basic pleading standard and demonstrate neither qoutrageous
   13 conductr nor wrongful intent.
   14         Plaintiff alleges Bloom is liable for intentional infliction of emotional distress
   15 because she qtried to put on a friendly face toward [Plaintiff], as a supposed ally,
   16 when really the approach was part of BLOOMts explicit plan to find out what
   17 [Plaintiff] wanted and silence her.r (Compl., ¶ 208.) It is unclear what interaction
   18 Plaintiff is referring topPlaintiff has never met or communicated with Bloom, and
   19 no such meeting is alleged in the Complaintpbut putting on a qfriendly face,r even
   20 if disingenuous, is not qoutrageous conduct.r See, e.g., Yau v. Santa Margarita
   21 Ford, Inc., 229 Cal. App. 4th 144, 160o61 (2014) (qConduct, to be outrageous must
   22 be so extreme as to exceed all bounds of that usually tolerated in a civilized
   23 society . . . [and] the plaintiff must allege with great[] specificity the acts which he
   24 or she believes are so extreme as to exceed all bounds of that usually tolerated in a
   25 U[h[^[lWV Ua__g`[fk*r& %S^fWdSf[a` [` ad[Y[`S^& %U[fSf[a`e S`V [`fWd`S^ cgafSf[a`
   26 marks omitted). Plaintiffts allegation is unsupported by the facts. In the absence of
   27 any contact with Bloom, Plaintiff cannot demonstrate any intent to harm, let alone
   28 an actual and proximate link between contact and any claimed damages.

                                                -23                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 35 of 36 Page ID #:188




    1         In addition, the two-year statute of limitations has run on Plaintiffts emotional
    2 distress claim. Wassmann v. S. Orange Cty. Cmty. Coll. Dist., 24 Cal. App. 5th 825,
    3 852o53 (2018). Plaintiff alleges that an overture to her by a third party took place in
    4 March 2017, and that Bloom was mentioned. (Compl., ¶ 69.) That is as close as
    5 Plaintiff comes to alleging contact between herself and Bloom. That alleged
    6 conversation took place more than two-and-a-half years prior to filing of the
    7 Complaint. The claim is therefore time-barred.
    8               8.     Plaintiff Has Failed To State A Claim Against Bloom For
    9                      Negligent Hiring And Supervision (Count XI)
   10         H^S[`f[XX S^^WYWe fZSf :^aa_ h[a^SfWV S Vgfk q`af fa Z[dW ad dW^k gba` SYW`fer
   11 iZa SUfWV [_bdabWd^k S`V fa qbdabWd^k * * * egbWdh[eW S`V _a`[fad fZW SUf[h[f[We aX
   12 SYW`fe QeZWR Z[dWV S`V geWV*r (Compl., ¶¶ 215-216.) But Plaintiff offers no support
   13 for the premise that Bloom hired or supervised Black Cube or that she could have
   14 reasonably foreseen any injury. See Phillips v. TLC Plumbing, Inc., 172 Cal. App.
   15 0fZ --//( --0. %.,,5& %KZWdW SdW qfia elements necessary for a duty to arise in
   16 negligent hiring and negligent retention casespthe existence of an employment
   17 relationship and XadWeWWST[^[fk aX [`\gdk*r&* According to the Complaint, Black
   18 Cube performed work on behalf of Weinstein (Compl., ¶¶ 38, 89-90, 94o95); was
   19 hired by Boies on Weinsteints behalf (id., ¶¶ 36, 38, 89, 99); was paid by Boies (id.,
   20 ¶¶ 40, 90, 92); began its work before Bloom was engaged (id., ¶¶ 36, 48); and had
   21 minimal contact with Bloom (id., ¶ 102). Plaintiff does not allege Bloom entered
   22 into contracts with Black Cube or qknew and reasonably foresawr that Black Cube
   23 would use improper tactics. (Id., ¶¶ 218-220.) The entire basis for Bloomts
   24 purported liability is her allegedly qparticipating in discussions with BLACK CUBE
   25 personnel and speaking with WEINSTEIN about BLACK CUBEts activities and
   26 results.r (Id., ¶ 221.) That is insufficient under California law.
   27         Plaintiff also does not identify any way in which the alleged negligent
   28 hiringpas opposed to Plaintiffts choice to cancel her book tourpproximately

                                                -24                       Case No. 2:19-cv-9105
                     BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
Case 2:19-cv-09105-ODW-GJS Document 34 Filed 01/31/20 Page 36 of 36 Page ID #:189




    1 caused any injury. (Id., ¶ 225.) In addition, the two-year limitations period has run.
    2 See Kaldis v. Wells Fargo Bank, N.A., 263 F. Supp. 3d 856, 867 (C.D. Cal. 2017)
    3 (citing Cal. Code Civ. Proc. § 335.1). This claim, like each of Plaintiffts claims,
    4 must therefore be dismissed as a matter of law.
    5                                    CONCLUSION
    6        For the foregoing reasons, Bloom respectfully requests that the Court issue an
    7 order dismissing Plaintiffts Complaint in its entirety with prejudice.
    8 DATED: January 31, 2020              BROWNE GEORGE ROSS LLP
    9                                         Eric M. George
                                              Noah S. Helpern
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   11
   12                                      By:        /s/Eric M. George
   13                                                 Eric M. George
                                           Attorneys for Defendants
   14                                      Lisa Bloom and The Bloom Firm
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                                               -25                       Case No. 2:19-cv-9105
                    BLOOM'S NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
